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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

REBECCA MUSSER,                                §
                                               §
                        Plaintiff,             §
                                               §
v.                                             §           CIVIL ACTION NO.
                                               §           3:17-CV-02166-C
PAUL QUINN COLLEGE,                            §
                                               §
                        Defendant.             §
     DEFENDANT PAUL QUINN COLLEGE’S MOTION FOR SUMMARY JUDGMENT

        Pursuant to Federal Rule of Civil Procedure 56(b) and Local Rule CV-56, Defendant Paul

Quinn College (“PQC” or “Defendant”) files this Motion for Summary Judgment on Plaintiff

Rebecca Musser’s sole claim for retaliation under the federal False Claims Act (“FCA”), 31 U.S.C.

§ 3729 et seq.

        In accordance with Local Rule 56.3(b), PQC will comply with Local Rule 56.3(a) by

setting forth each of the required matters in Defendant’s Brief in Support of its Motion for

Summary Judgment. For the reasons stated in its separately filed Brief, Defendant moves for

summary judgment on Plaintiff’s sole claim.

        Wherefore, Defendant respectfully requests the Court grant its Motion for Summary

Judgment and award Defendant its costs, reasonable attorneys’ fees, and all other relief to which

it may be justly entitled.
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                                        Respectfully submitted,

                                        GREENBERG TRAURIG, LLC



                                        By:    /s/ Alicia Sienne Voltmer
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                                CERTIFICATE OF SERVICE

       On September 21, 2018, I electronically submitted the foregoing document with the clerk
of court for the U.S. District Court, Northern District of Texas, using the electronic case filing
system of the court. I hereby certify that I have served all counsel of record electronically or by
another manner authorized by Federal Rule of Civil Procedure 5(b)(2).

                                                      /s/ Alicia Sienne Voltmer
                                                     Alicia Sienne Voltmer




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